Case 2:18-cv-02187-SHM-dkv Document 9 Filed 06/01/18 Page 1 of 11                        PageID 20




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION
______________________________________________________________________________

AIMEE C. MANIS,

       Plaintiff,

v.                                                            Case No. 2:18-cv-2187

SUIT UP, INC. and
ACS CLOTHING LTD.,                                            JURY DEMANDED

      Suit Up.
______________________________________________________________________________

              SUIT UP’ ANSWER AND ADDITIONAL DEFENSES TO
                          PLAINTIFF’S COMPLAINT
______________________________________________________________________________

       Suit Up, Inc (“Suit Up”) and ACS Clothing LTD respectfully submit their Answer and

Additional Defenses to Plaintiff Aimee Manis’ Complaint as follows:

       As to the introductory paragraph starting with “COMES NOW,” Suit Up and ACS Clothing

LTD admit only that Plaintiff purports to bring this action to recover damages related to alleged

retaliation under Title VII of the Civil Rights Act of 1974, 42 U.S.C. § 2000e et seq., and disability

discrimination under the Americans with Disabilities Amendments Act of 2008 (“ADAAA”). Suit

Up deny any the remaining allegations contained in the introductory paragraph of the Complaint.

                                         JURISDICTION

       1.      Suit Up admits the allegations in Paragraph 1 of the Complaint. ACS Clothing

LTD lacks specific knowledge or information to respond to this allegation and, therefore, denies

the same.




FPDOCS 34123462.1
Case 2:18-cv-02187-SHM-dkv Document 9 Filed 06/01/18 Page 2 of 11                     PageID 21




                                  STATEMENT OF FACTS

        2.     Suit Up and ACS Clothing LTD lack specific knowledge or information regarding

the allegations in Paragraph 2 of the Complaint and, therefore, deny same.

        3.     Suit Up and ACS Clothing LTD deny that Suit Up is a wholly owned subsidiary of

ACS Clothing LTD. Suit Up and ACS Clothing LTD admit the remaining allegations is Paragraph

3 of the Complaint.

        4.     Suit Up and ACS Clothing LTD deny the allegations in part in Paragraph 4 of the

Complaint. Defendant ACS Clothing Group is not listed as a defendant to this action. Suit Up and

ACS Clothing LTD admit that ACS Clothing LTD is listed as Defendant to this action and is a

formal-wear rental provider based in Scotland, but deny that Ms. Manis ever worked for ACS

Clothing LTD. ACS Clothing LTD contends that Plaintiff has incorrectly listed ACS Clothing

LTD as a Defendant on the erroneous belief that ACS Clothing LTD is a parent company of Suit

Up, which is inaccurate.

                                  STATEMENT OF FACTS

        5.     Suit Up admits that Plaintiff was hired in the spring of 2015 as a Brand Strategy

Manager with a yearly salary of $75,000.00. Suit Up denies that Richard Freedman (“Mr.

Freedman”) was an official supervisor of Ms. Manis, but admit that, prior to Peter Abruzzo’s (“Mr.

Abruzzo”) hiring as the CEO of Suit Up, Ms. Manis reported on occasion to Mr. Freedman.

Following Mr. Abruzzo’s hire as CEO, Ms. Manis reported to Mr. Abruzzo. ACS Clothing LTD

lacks specific knowledge or information to respond to this allegation and, therefore, denies the

same.




FPDOCS 34123462.1
Case 2:18-cv-02187-SHM-dkv Document 9 Filed 06/01/18 Page 3 of 11                      PageID 22




        6.     Suit Up denies the allegations in Paragraph 6 of the Complaint. ACS Clothing LTD

lacks specific knowledge or information to respond to this allegation and, therefore, denies the

same.

        7.     Suit Up denies the allegations in Paragraph 7 of the Complaint. ACS Clothing LTD

lacks specific knowledge or information to respond to this allegation and, therefore, denies the

same.

        8.     Suit Up denies the allegations in Paragraph 8 of the Complaint. ACS Clothing LTD

lacks specific knowledge or information to respond to this allegation and, therefore, denies the

same.

        9.     Suit Up admits that Mr. Abruzzo counseled Ms. Manis on her job performance

during his time as her supervisor. Suit Up denies all remaining allegations in Paragraph 9 of the

Complaint. ACS Clothing LTD lacks specific knowledge or information to respond to this

allegation and, therefore, denies the same.

        10.    Suit Up admits that the employee referred to as B.H. began to assist Ms. Manis on

or around January 15, 2016, but denies that this transfer was at the request of Mr. Abruzzo or that

Mr. Abruzzo perceived Ms. Manis’ workload to have increased. Further, Suit Up denies that Ms.

Manis’ workload had increased. Suit Up denies the remaining allegations in Paragraph 10 of the

Complaint. ACS Clothing LTD lacks specific knowledge or information to respond to this

allegation and, therefore, denies the same.

        11.    Suit Up admits that, at some point during her employment, someone acting on

behalf Ms. Manis contacted Lee Harkavy to complain about Mr. Abruzzo’s abrasive demeanor.

Upon information and belief, this individual who contacted Lee Harkavy was Ms. Manis’s

husband. Suit Up denies all remaining allegations contained in Paragraph 11 of the Complaint.




FPDOCS 34123462.1
Case 2:18-cv-02187-SHM-dkv Document 9 Filed 06/01/18 Page 4 of 11                       PageID 23




ACS Clothing LTD lacks specific knowledge or information to respond to this allegation and,

therefore, denies the same.

       12.     Suit Up denies the allegations in Paragraph 12 of the Complaint. ACS Clothing

LTD lacks specific knowledge or information to respond to this allegation and, therefore, denies

the same.

       13.     Suit Up admits that Michelle Mugnolo (“Ms. Mugnolo”) assumed some of Ms.

Manis’ job duties, but deny that Ms. Manis had her job duties involuntarily transferred to Ms.

Mugnolo. As Ms. Mugnolo no longer works for Suit Up, Suit Up lacks sufficient knowledge or

information to respond to allegations regarding the conversation alluded to in Paragraph 13 of the

Complaint and, therefore, denies the same. Suit Up denies remaining allegations in Paragraph 13

of the Complaint. ACS Clothing LTD lacks specific knowledge or information to respond to this

allegation and, therefore, denies the same.

       14.     Suit Up admits the allegations in Paragraph 14 of the Complaint. ACS Clothing

LTD lacks specific knowledge or information to respond to this allegation and, therefore, denies

the same.

       15.     Suit Up and ACS Clothing LTD are without sufficient knowledge or information

to respond to the first, second or fourth sentence in Paragraph 15 of the Complaint, and, therefore,

deny same. Suit Up denies that Lidia Ventrella was Ms. Manis’s supervisor. Suit Up admits that

Ms. Manis requested leave on March 16, 2016, but denies that this request was made in the

afternoon. Suit Up denies all remaining allegations in Paragraph 15 of the Complaint. ACS

Clothing LTD lacks specific knowledge or information to respond to this allegation and, therefore,

denies the same.




FPDOCS 34123462.1
Case 2:18-cv-02187-SHM-dkv Document 9 Filed 06/01/18 Page 5 of 11                     PageID 24




       16.     Suit Up admits that Ms. Manis was emailed regarding her termination non March

17, 2016. Suit Up denies any inference that the decision by Suit Up to terminate Ms. Manis

occurred after her request for leave. This decision to terminate Ms. Manis occurred during a Board

meeting several weeks prior to March 16, 2016. Suit Up denies all remaining allegations in

Paragraph 16 of the Complaint. ACS Clothing LTD lacks specific knowledge or information to

respond to this allegation and, therefore, denies the same.

       17.     Suit Up and ACS Clothing LTD are without sufficient knowledge or information

to respond to the allegations in Paragraph 17 of the Complaint and, therefore, deny same.

       18.     Suit Up denies the allegations in Paragraph 18 of the Complaint. ACS Clothing

LTD lacks specific knowledge or information to respond to this allegation and, therefore, denies

the same.

                                     CAUSES OF ACTION

       19.     Suit Up and ACS Clothing LTD incorporate the foregoing paragraphs above as

though specifically set forth herein, and respond that:

       20.     Suit Up denies the allegations in Paragraph 20 of the Complaint. ACS Clothing

LTD lacks specific knowledge or information to respond to this allegation and, therefore, denies

the same.

       21.     Suit Up denies the allegations in Paragraph 21 of the Complaint. ACS Clothing

LTD lacks specific knowledge or information to respond to this allegation and, therefore, denies

the same.

       22.     Suit Up denies the allegations in Paragraph 22 of the Complaint. ACS Clothing

LTD lacks specific knowledge or information to respond to this allegation and, therefore, denies

the same.




FPDOCS 34123462.1
Case 2:18-cv-02187-SHM-dkv Document 9 Filed 06/01/18 Page 6 of 11                         PageID 25




                                     PRAYER FOR RELIEF

       23.     Paragraph 23 is a demand for damages and, accordingly, no response is required;

to the extent a response is required, Suit Up denies Plaintiff is entitled to any damages from these

Suit Up. ACS Clothing LTD lacks specific knowledge or information to respond to this

allegation and, therefore, denies the same.

       24.     Suit Up denies Plaintiff is entitled to reinstatement of her employment. ACS

Clothing LTD lacks specific knowledge or information to respond to this allegation and,

therefore, denies the same.

       24.     Paragraph 24 is a demand for damages and, accordingly, no response is required;

to the extent a response is required, Suit Up denies Plaintiff is entitled to any damages from these

Suit Up. ACS Clothing LTD lacks specific knowledge or information to respond to this

allegation and, therefore, denies the same.

       25.     Paragraph 25 is a demand for damages and, accordingly, no response is required;

to the extent a response is required, Suit Up denies Plaintiff is entitled to any damages from these

Suit Up. ACS Clothing LTD lacks specific knowledge or information to respond to this

allegation and, therefore, denies the same.

       26.     Paragraph 26 is a demand for damages and, accordingly, no response is required;

to the extent a response is required, Suit Up denies Plaintiff is entitled to any damages from these

Suit Up. ACS Clothing LTD lacks specific knowledge or information to respond to this

allegation and, therefore, denies the same.

       27.     Suit Up denies Plaintiff is entitled to any costs, interests or fees as averred in

Paragraph 27 of the Complaint. ACS Clothing LTD lacks specific knowledge or information to

respond to this allegation and, therefore, denies the same.




FPDOCS 34123462.1
Case 2:18-cv-02187-SHM-dkv Document 9 Filed 06/01/18 Page 7 of 11                       PageID 26




       28.     Paragraph 28 is a demand for damages and, accordingly, no response is required;

to the extent a response is required, Suit Up denies Plaintiff is entitled to any damages from these

Suit Up. ACS Clothing LTD lacks specific knowledge or information to respond to this

allegation and, therefore, denies the same.

                                 FIRST GENERAL DEFENSE

       Suit Up reserves their right to supplement and/or amend their Answer and Additional

Defenses upon receiving additional information and documentation concerning Plaintiff’s

allegations.

       SUIT UP and ACS Clothing LTD affirmatively pleads as follows:

                              FIRST AFFIRMATIVE DEFENSE

       To the extent Plaintiff’s Complaint raises allegations that were not raised in her EEOC

charge, Suit Up and ACS Clothing LTD aver that these allegations should be dismissed because

of Plaintiff’s failing to exhaust her administrative remedies.

                             SECOND AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint, in whole or in part, fails to state a claim upon which relief can be

granted by the Court.

                              THIRD AFFIRMATIVE DEFENSE

       At all times, Suit Up’s actions were taken in good faith and for legitimate, non-

discriminatory, and non-retaliatory business reasons.

                             FOURTH AFFIRMATIVE DEFENSE

       Plaintiff’s discrimination claim is barred because Suit Up (a) had in place effective

complaint and preventive/corrective mechanisms to address allegations of discrimination and




FPDOCS 34123462.1
Case 2:18-cv-02187-SHM-dkv Document 9 Filed 06/01/18 Page 8 of 11                        PageID 27




harassment, and these mechanisms were communicated to Plaintiff, and (b) Plaintiff acted

unreasonably and did not take advantage of the available complaint mechanisms.

                                  FIFTH AFFIRMATIVE DEFENSE

       Suit Up at all times acted in good faith to comply with all applicable equal employment

laws and acted with reasonable grounds to believe that its actions did not violate the statutes cited

in Plaintiff’s Complaint.

                              SIXTH AFFIRMATIVE DEFENSE

       Suit Up asserts a lack of willfulness or intent to violate those statutes as a defense to any

claim by Plaintiff for punitive damages.

                            SEVENTH AFFIRMATIVE DEFENSE

       Plaintiff was at all relevant times an at-will employee whose employment could have been

terminated at any time, for any reason, with or without cause.

                             EIGHTH AFFIRMATIVE DEFENSE

       To the extent that Plaintiff failed to mitigate her damages, her claims or remedies are

diminished or barred.

                              NINTH AFFIRMATIVE DEFENSE

       Plaintiff is not a qualified individual with a disability under the ADAAA.

                              TENTH AFFIRMATIVE DEFENSE

       Plaintiff is not entitled to recover punitive damages, under the standards set forth in Kolstad

v. American Dental Association, 527 U.S. 526 (1999).

                            ELEVENTH AFFIRMATIVE DEFENSE

       An award of punitive damages under the circumstances of the instant case would amount

to a violation of Suit Up’s due process rights and rights to equal protection under the Fourteenth




FPDOCS 34123462.1
Case 2:18-cv-02187-SHM-dkv Document 9 Filed 06/01/18 Page 9 of 11                        PageID 28




Amendment to the United States Constitution and the Tennessee Constitution. Further, the

imposition of punitive damages, based on these facts, would constitute an excessive fine or penalty

under the Eighth Amendment to the United States Constitution and under the Tennessee

Constitution.

                           TWELFTH AFFIRMATIVE DEFENSE

        Suit Up may not be held vicariously liable for punitive damages based on unlawful

employment actions taken by its managerial agents, if any are proven, because any such unlawful

actions were contrary to Suit Up’s policies and good-faith efforts to comply with the law.

                             THIRTEENTH AFFIRMATIVE DEFENSE

        While Suit Up expressly denies that it or any employee under their supervision acted in

any manner constituting unlawful discrimination, harassment or retaliation, if Plaintiff’s rights

were violated, such violation occurred outside the scope of employment and without the consent

or knowledge of Suit Up. Suit Up neither knew nor had reason to know of any such circumstances.

Suit Up did not condone, ratify, or tolerate any such conduct, but instead prohibited such conduct.

Actions entirely outside the course and scope of such employee’s employment may not be

attributed to Suit Up through principles of agency, respondeat superior, or otherwise.

                            FOURTEENTH AFFIRMATIVE DEFENSE

        Unless otherwise specifically admitted herein, Suit Up denies each and every allegation

in Plaintiff’s Complaint and demands strict proof thereof.

                              FIFTEENTH AFFIRMATIVE DEFENSE

        ACS Clothing LTD asserts that it should be dismissed from this matter as it has never had

any formal or informal employment relationship with Ms. Manis and has been mistakenly listed

as a party to this suit.




FPDOCS 34123462.1
Case 2:18-cv-02187-SHM-dkv Document 9 Filed 06/01/18 Page 10 of 11                 PageID 29




SUIT UP AND ACS CLOTHING LTD reserve the right to amend their Answer to add affirmative

defenses.



WHEREFORE, SUIT UP AND ACS CLOTHING LTD request that the Court:

       (a) dismiss Plaintiff’s Complaint, with prejudice;

       (b) award to Suit Up their costs and disbursements of this action, including reasonable

       attorneys’ fees;

        (c) grant to Suit Up and ACS Clothing LTD such other relief as the Court may deem
just and proper.

       THIS, the 1st of June 2018.



                                            Respectfully submitted,

                                            FISHER & PHILLIPS, LLP

                                            By:     s/Robert W. Ratton
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                                                   Attorneys for Suit Up




FPDOCS 34123462.1
Case 2:18-cv-02187-SHM-dkv Document 9 Filed 06/01/18 Page 11 of 11              PageID 30




                               CERTIFICATE OF SERVICE

       I, ROB RATTON, do hereby certify that I filed the foregoing with the Clerk of Court

utilizing the ECF-System, which sent a copy of same to the following:

                                       William B. Ryan
                                     Janelle C. Osowski
                                     Donati Law, PLLC
                                     1545 Union Avenue
                                  Memphis, Tennessee 38104
                                  Telephone: 901-278-1004
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                                    billy@donatilaw.com


       This the 1st day of June 2018.

                                                   s/Robert W. Ratton
                                                   Robert W. Ratton




FPDOCS 34123462.1
